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                   IN THE UNITED STATES DISTRICT COURT
                                 FOR THE
                     MIDDLE DISTRICT OF PENNSYLVANIA




DAVID E. HILL,                        :
                                      :
               Plaintiff              :
                                      :
        v.                            :    CIVIL NO. 3:CV-11-1609
                                      :
HARLEY LAPPIN, ET AL.,                :    (Judge Conaboy)
                                      :
               Defendants             :
_________________________________________________________________
                                 MEMORANDUM
Procedural History

        This pro se civil rights complaint was filed by David E.

Hill (Plaintiff), an inmate presently confined at the High Security

United States Penitentiary, Florence Colorado, Pennsylvania (USP-

Florence).1    Remaining Defendants are Northeast Regional Director

J. Norwood of the Federal Bureau of Prisons (BOP) and the following

officials at Plaintiff former place of confinement, the United

States Penitentiary, Lewisburg, Pennsylvania (USP-Lewisburg):
Warden B. Bledsoe; and Lieutenants W. McFadden, J. Hepner, M.

Saylor, M. Edinger, and P. Carrasquillo.

        By Memorandum and Order dated September 17, 2012,

Defendants’ motion for summary judgment was partially granted.        See

Doc. 40.     Specifically, summary judgment was entered in favor of

Defendants Harley Lappin; PA I. Navarro; Nurse B. Prince; and AHSA



1. Plaintiff was transferred to USP-Florence in late December
2012. See Doc. 58.

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R. Parkyn.   Entry of summary judgment was also granted with respect

to any claims against Remaining Defendants Norwood, and Bledsoe:

(1) solely based upon their respective supervisory capacities; and

(2) regarding their responses or non-response to administrative

grievances or complaints within either the BOP or USP-Lewisburg.

Summary judgment was additionally granted in favor of the Remaining

Defendants with respect to: (1) the claims for monetary damages

against them in their official capacities; and (2) the allegations

of deliberate indifference to a serious medical need; and (3) the
assertions relating to the denial of Plaintiff’s requests to be

moved to another cell.

        However, Remaining Defendants’ request for summary judgment

regarding the alleged use of excessive force while being extracted

from his cell and the implementation of four point restraints by

correctional staff was denied and their request for qualified

immunity was dismissed without prejudice.

        Presently pending is the Remaining Defendants’ motion for

summary judgment.    See Doc. 51.    The opposed motion is ripe for
consideration.2
Plaintiff’s Claims

        With respect to the Remaining Defendants, the Complaint,

provides that while Hill was being held in ambulatory restraints at

USP-Lewisburg during the afternoon of June 22, 2010, Lieutenant



2. Given the liberal treatment afforded pro se litigants the Court
will deny Remaining Defendants’ request that Plaintiff’s opposing
brief, statement of material facts, and declaration be precluded
from consideration as untimely filed.

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Hepner conducted a required two hour restraint check.3          See Doc. 1,

¶ 17.   In response to a question from Hepner, Plaintiff admits that

he indicated that he was ready to accept a cellmate and be released

from his restraints.     Hill acknowledges after being escorted to the

first floor shower room and removed from his restraints, he

informed Hepner that he had changed his mind would not accept a

cellmate.   See id.   Defendant Hepner allegedly became angry with

Plaintiff’s change of heart and after making a verbal threat

returned approximately one hour later with a use of force team.
        The force team pulled Hill from the shower room.          During

this extraction, Plaintiff claims that the officers twisted his

neck and bent his back in a compromising position and placed him

back in ambulatory restraints.      His Complaint asserts that the

restraints (handcuffs, belly chain and leg irons) were maliciously

applied so tightly that Plaintiff was injured.

        It is next alleged that Hill was then purportedly dragged to

a Z Block cell where he was put in four point restraints and forced

to lay on his back in a spread eagle position on a steel and
concrete slab.    Hill adds that these restraints were again applied

too tightly.4    See id. at ¶ 18.    Lieutenant Carrasquillo conducted



3. Remaining Defendants’ pending motion includes an argument that
Plaintiff was not subjected to excessive force with regards to the
initial placement of Plaintiff in ambulatory restraints earlier
that same day. However, the Complaint does not assert any claim
regarding Hill’s initial placement in ambulatory restraints.

4. Four point restraints involves placing an inmate in a supine
position on his bed and binding his hands in soft restraints to the
corners of his bed. See Kee v. Hasty, 2004 WL 807071 1, n. 3.
(S.D. N.Y. April 14, 2004).

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a mandated restraint check two hours later and purportedly

disregarded Plaintiff’s complaints of neck and back pain.

Carrasquilla also refused to loosened Plaintiff’s restraints or

allow him to use the bathroom.     See id. at ¶ 19.     Due to that

alleged inaction, Plaintiff asserts that he had to lay in his own

waste.

         Defendant Saylor conducted a restraint check the following

day and likewise ignored Hill’s complaints of pain, as well as the

inmate’s requests to have his restraints loosened and to use the
bathroom.   Hepner conducted another restraint check several hours

later    and likewise ignored Plaintiff’s similar complaints and

requests.   Subsequent restraint checks were also conducted by

Defendants Edinger and McFadden who also refused to provide

Plaintiff with any assistance.     After a total of 48 hours elapsed,

Hill states that he was finally removed from the four point

restraints.

         The Complaint concludes that the use of force while being

extracted from the shower room and his placement in four point
restraints constituted cruel and unusual punishment.         Plaintiff

also contends that Warden Bledsoe with the acquiescence of Regional

Director Norwood approved the use of restraints.        Hill seeks

declaratory and injunctive relief as well as compensatory and

punitive damages.
                                Discussion

         Remaining Defendants argue that they are entitled to entry

of summary judgment because: (1) the undisputed facts establish


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that Plaintiff was not subjected to excessive use of force; (2) the

use of four point restraints was within acceptable constitutional

parameters; and (3) they are entitled to qualified immunity.
Standard of Review

          Summary judgment is proper if “the pleadings, the discovery

and disclosure materials on file, and any affidavits show that

there is no genuine issue as to any material fact and that the

movant is entitled to a judgment as a matter of law.”         Fed. R. Civ.

P. 56(c); See also Saldana v. Kmart Corp., 260 F.3d 228, 231-32 (3d
Cir. 2001).    A factual dispute is “material” if it might affect the

outcome of the suit under the applicable law.        Anderson v. Liberty

Lobby, Inc., 477 U.S. 242, 248 (1986).       A factual dispute is

“genuine” only if there is a sufficient evidentiary basis that

would allow a reasonable fact-finder to return a verdict for the

non-moving party.    Id. at 248.   The court must resolve all doubts

as to the existence of a genuine issue of material fact in favor of

the non-moving party.    Saldana, 260 F.3d at 232; see also Reeder v.

Sybron Transition Corp., 142 F.R.D. 607, 609 (M.D. Pa. 1992).
Unsubstantiated arguments made in briefs are not considered

evidence of asserted facts.     Versarge v. Township of Clinton, 984

F.2d 1359, 1370 (3d Cir. 1993).

          Once the moving party has shown that there is an absence of

evidence to support the claims of the non-moving party, the non-

moving party may not simply sit back and rest on the allegations in

its complaint.    See Celotex Corp. v. Catrett, 477 U.S. 317, 324

(1986).    Instead, it must “go beyond the pleadings and by [its] own


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affidavits, or by the depositions, answers to interrogatories, and

admissions on file, designate specific facts showing that there is

a genuine issue for trial.”     Id. (internal quotations omitted); see

also Saldana, 260 F.3d at 232 (citations omitted).         Summary

judgment should be granted where a party “fails to make a showing

sufficient to establish the existence of an element essential to

that party’s case, and on which that party will bear the burden at

trial.”    Celotex, 477 U.S. at 322-23.    “‘Such affirmative evidence

– regardless of whether it is direct or circumstantial – must
amount to more than a scintilla, but may amount to less (in the

evaluation of the court) than a preponderance.’”        Saldana, 260 F.3d

at 232 (quoting Williams v. Borough of West Chester, 891 F.2d 458,

460-61 (3d Cir. 1989)).
Excessive Force

          Remaining Defendants describe Plaintiff as having a history

of assaultive and disruptive behavior.       Hill’s poor conduct has

resulted in his being placed in restraints more than twelve (12)

times between January 28, 2009 - November 26, 2012.         They
acknowledge that on the afternoon of June 22, 2010, Warden Bledsoe

authorized the assembly of a use of force team after Plaintiff

refused to submit to hand restraints for the purpose of being

celled with another inmate.     It is also undisputed that earlier

that same day a use of force team had been called to Hill’s cell

when the inmate had similarly refused to submit to hand restraints

and be celled with another prisoner.

          The summary judgment motion argues that since correctional


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staff were able engage in successful confrontation avoidance which

resulted with Plaintiff’s agreement to be voluntarily placed in

hand restraints, transferred to a cell, and thereafter placed in

four point restraints without the use of force there is no basis

for a claim that excessive force was applied against Plaintiff with

respect to his extraction from the shower room.

       It is well settled that a correctional officer's use of

force in order to constitute cruel and unusual punishment, must

involve the "unnecessary and wanton infliction of pain."         Whitley
v. Albers, 475 U.S. 312, 319 (1986).      “It is obduracy and

wantonness, not inadvertence or error in good faith, that

characterize[s] that conduct prohibited by the Cruel and Unusual

Punishment Clause, whether the conduct occurs in connection with

establishing conditions of confinement, supplying medical needs, or

restoring official control over a tumultuous cellblock.”         Id.

       In a later ruling, the United States Supreme Court

recognized that the use of force may constitute cruel and unusual

punishment even if the prisoner does not sustain "significant"
injuries.   Hudson v. McMillian, 503 U.S. 1, 9 (1992).        The core

judicial inquiry is “whether force was applied in a good faith

effort to maintain or restore discipline or maliciously and

sadistically to cause harm.”     Fuentes v. Wagner, 206 F.3d 335, 345

(3d Cir.), cert. denied, 531 U.S. 821(2000); Brooks v. Kyler, 204

F.3d 102, 106 (3d Cir. 2000)(even a de minimis use of force, if

repugnant to the conscience of mankind, may be constitutionally

significant).   As explained in Fuentes:


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             Resolution of an Eighth Amendment claim
             therefore ‘mandate[s] an inquiry into a
             prison official’s state of mind.’ Two
             considerations define that inquiry. We
             must first determine if the deprivation
             was sufficiently serious to fall within
             the Eighth Amendment’s zone of
             protections. If not, our inquiry is at an
             end. In other words, we must determine if
             they were motivated by a desire to inflict
             unnecessary and wanton pain. ‘What is
             necessary to establish an “unnecessary and
             wanton infliction of pain. . .” varies
             according to the nature of the alleged
             constitutional violation.’However, if the
             deprivation is sufficiently serious, we
             must determine if the officials acted with
             a sufficiently culpable state of mind.

Fuentes, 206 F.3d at 344.

       In support of their argument, Remaining Defendants have

submitted videotape footage of the incident which allegedly

transpired at approximately 2:00 p. m. on June 22, 2010.         See Doc.

53, Exhibit 3.   This videotape evidence provides an uninterrupted

view of the entire incident underlying the excessive force during

extraction claim, from the assembly of the use of force team to the

placement of Hill in four point restraints.

       The videotape confirms that on the afternoon at issue, a use
of force team was assembled to extract Plaintiff from a USP-

Lewisburg shower room.    Upon the arrival of the use of force team,

Plaintiff voluntarily agreed to be placed in restraints.

       Both Hill and the involved correctional staff acted in a

calm and deliberative manner throughout the event at issue.          There

was no violent or unruly behavior by either Hill or the

correctional officers.    The extraction, placement in restraints,

and transfer to another cell were clearly accomplished without

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incident.   There is no evidence to suggest Hill was injured or in

pain at any juncture during the extraction/transfer.

       Since Remaining Defendants have demonstrated that the

undisputed facts establish that there was no use of excessive force

via the submission of videotape evidence, the request for entry of

summary judgment with respect to the claim that Plaintiff was

subjected to excessive force during his June 22, 2010 afternoon

shower room extraction, placement in restraints, and transfer to

another cell will be granted.
Four Point Restraints

       Plaintiff’s other surviving claim asserts that there was no

legitimate basis for his placement in four point restraints and

that those restraints were applied too tightly and that he was kept

in the restraints for an excessive period of 48 hours without being

afforded access to a bathroom which caused him to have to lie in

his own waste.

       The Complaint states that Lieutenant Carrasquillo conducted

an initial mandated restraint check and purportedly disregarded
Plaintiff’s complaints of neck and back pain, refused to loosened

the inmate’s restraints, and wouldn’t allow him to use the

bathroom.   Remaining Defendants Saylor, Hepner, Eddinger, and

McFadden conducted subsequent restraint checks over the course of

the next 48 hours and likewise ignored Hill’s complaints of pain,

and the inmate’s requests to have his restraints loosened, and to

use the bathroom.




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       This Court denied Defendants’ prior dispositive motion on

the basis that they had not provided competent details: (1) setting

forth the reasons behind the decision to employ four point

restraints in Hill’s case; and (2) establishing why the need for

four point restraints persisted for almost two days.         The Court

also voiced its concern regarding Hill’s claim that he was denied

bathroom access and had to lie in his own waste.

       In their pending summary judgment motion, Remaining

Defendants describe Plaintiff as having an extensive history of
more than twenty (20) significant disciplinary infractions

including charges of assault on staff, possession of a weapons, and

assault on inmates.    They also note that earlier in the day on June

22, 2010, employment of both a use of force team and ambulatory

restraints had been approved for Plaintiff because he was

displaying signs of imminent violence and was engaging in

disruptive behavior.

       According to Remaining Defendants, after being released from

ambulatory restraints following the initial incident of June 22,
2010, Hill again began verbalizing threats of imminent violence

which resulted in a second activation of a use of force team as

well as a decision that Hill should be placed in four point

restraints.   Specifically, due to Hill’s history of violent

behavior and his earlier manipulative behavior which resulted in

his release from ambulatory restraints, Remaining Defendants

explain that a decision was made to bypass the use of a second




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round of ambulatory restraints on the same day and instead to

employ four point restraints.

         A declaration under penalty of perjury by USP-Lewisburg

Attorney Advisor Michael Romano and supporting institutional

records generally provide that Hill has a long history of

institutional infractions some of which included violent behavior.

See Doc. 62-3, Exhibit 1, ¶ ¶ 3-4.        With respect to the decision to

place Hill in four point restraints, Romano states although Hill

“submitted to hand restraints ... [a]mbulatory restraints “were
bypassed due to Hill’s highly agitated state and recent history of

manipulating restraints.”      Id. at ¶ 11.

       Romano adds that the prisoner was placed in four point

restraints and remained in said restraints for a period of less

then forty-eight (48) hours.     Every fifteen (15) minutes Plaintiff

remained in four point restraints a visual check was conducted in

accordance with BOP policy.     In addition, a correctional lieutenant

conducted a BOP mandated restraint check every two (2) hours to

determine if Hill had regained a pattern of non-disruptive behavior
which would warrant his release from the restraints.

       Lieutenant Hepner has submitted a declaration under penalty

of perjury wherein he states that he notified the Warden on the

afternoon of June 22, 2010 that Plaintiff was for the second time

that day refusing to be placed in hand restraints and accept a

celllmate.   Upon being notified of this latest situation, the

Warden authorized four point restraints and bypassed ambulatory

restraints “due to Hill’s agitated state and recent attempts to


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manipulate his being in ambulatory restraints.”         Doc. 62-3, Exhibit

4, ¶ 6.

          Plaintiff admits that he changed his mind and was once again

refusing to be celled with another prisoner.        However, Hill asserts

that he was not displaying imminent signs of violence as

demonstrated by his agreement to be placed in hand restraints.5

Rather, Hill argues that Hepner was angered by his change of mind

and that the implementation of four point restraints was punitive.

          With respect to the four point restraint related issues of
bathroom access and complaints of pain from restraints which were

too tight, Remaining Defendants’ supporting brief generally

acknowledges that during each two hour check, Hill’s restraints

were to be checked and he was to be offered opportunity to use the

bathroom.    See Doc. 62, p. 13. They also point out that there is no

evidence in the record to support Plaintiff’s assertion that he the

tightness of the restraints resulted in cognizable wrist injuries.

          Hepner’s declaration provides that he conducted four

restraint checks June 22, 2010 at 11:00 a.m. and noon6 and June 23,
2010 at 10:00 a.m. and 2:00 p.m.      The Lieutenant describes

Plaintiff during each visit as not having regained control,

agitated, and aggressive.     During the two checks on June 23, 2010



5. Remaining Defendants have submitted a copy of an incident
report which provide that Hill was placed in four point restraints
because he was displaying signs of imminent violence towards staff
or other inmates.

6. These checks were presumably of Plaintiff’s ambulatory
restraints as he was not placed in four points until mid-afternoon
on June 22, 210.

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Hepner indicates that Hill refused the use of toilet, water, and

food.

         A supporting declaration by Lieutenant Carrasquillo provides

that prison records indicate said Defendant checked Hill’s

restraints six times while he was in four point restraints between

June 22-24, 2010.    See Doc. 62-3, Exhibit 5.      Three of those checks

(4:00, 6:00, and 10:00 p.m.) were conducted on June 22, 2010.

Plaintiff is described on that day as being either aggressive or

combative at the time of all three visits.        The next day
Carrasquillo conducted three more checks (4:00, 8:00, and 10:00

p.m.).   The Lieutenant again asserts that prison records indicate

that Plaintiff was combative during all three inspections.            There

is no indication by Carrasquillo as to whether he ever offered Hill

opportunity to use the bathroom or responded to any complaints of

pain/restraints being too tight during any of the six restraint

checks conducted by that officer.7

         Defendant Saylor has also submitted a declaration under

penalty of perjury acknowledging that he conducted two restraint
checks on June 23, 2010 at 8:00 a.m and 12:00 noon.         See id. at

Exhibit 6.   Saylor states that he checked Hill’s restraints during

both visits and that the prisoner refused to speak during the

morning visit and was combative at noon.       There is no claim by

Saylor that he ever offered Hill opportunity to use the bathroom,

or addressed any complaints of pain.



7. The Lieutenant does aver that he checked the restraints during
each visit.

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        Lieutenant Edinger has also filed a declaration under

penalty of perjury confirming that he also conducted a restraint

check on June 23, 2010 at 6:00 p.m. and that Hill was combative.

See id. at Exhibit 7. There is no assertion by Edinger as to

whether he offered bathroom access or addressed any complaints of

pain.

         However, the declarations of Carrasquillo, Edinger, and

Saylor contain no mention as to whether Plaintiff was offered

opportunity to use the bathroom.      Likewise, the declarations do not
indicate that the prisoner’s alleged complaints of pain were

addressed.

        Plaintiff has submitted his own declaration indicating that

he made numerous requests to use the bathroom and repeatedly voiced

complaints of pain stemming from tight restraints during the two

hour four point restraint checks which were ignored.

        In addressing Defendants’ prior dispositive motion, this

Court noted that a non-precedential ruling, Camp v. Brennan, 54

Fed. Appx. 78, 81 (3d Cir. 2002) by the Third Circuit Court of
Appeals concluded that the placement of four point restraints on a

prisoner for two days while clothed only in a blanket did not

constitute an Eighth Amendment violation.

        Following Camp, the United States Supreme Court issued its

decision in Hope v. Pelzer, 536 U.S. 730, 737-38 (2002) wherein it

recognized that handcuffing an inmate to a hitching post for seven

hours in a standing position, with his shirt off, subject to

sunburn and scorching heat, without water or bathroom breaks while


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subject to taunting by correctional officers presented an Eighth

Amendment violation.    It has been correctly noted that to the

extent that Camp conflicts with Hope, the Supreme Court’s decision

is binding authority.     Zimmerman v. Schaffer, 654 F. Supp.2d 226,

249 (M.D. Pa. Aug. 17, 2009).

       In Womack v. Smith, 2011 WL 819558 * 11 (M.D. Pa. March 2,

2011), it was recognized that the initial use of restraints may be

characterized as an excessive force claim while the prolonged use

of restraints is properly analyzed under the deliberate
indifference standard.8    Based upon the evidence presented by

Defendants it does not appear that prison officials intended that

Hill undergo a lengthy restraint period.

       It is undisputed that Plaintiff was placed in four point

restraints with the approval of Warden Bledsoe on June 22, 2010 at

2:50 p.m. and remained restrained until June 24, 2010 at 10:00

a.m., a period of 43 not 48 hours.9

       The use of four point restraints is generally viewed as

being a measure of last resort.      See Williams v. Benjamin, 77 F.3d
756, 763   (4th Cir. 1996)(courts have approved the limited use of


8. Womack concerned a twenty-six (26) day period of placement in
ambulatory restraints which are less restrictive then four point
restraints.

9. Those records further provide that the BOP’s Regional Director
was given an update for each eight (8) hour time period Hill spent
in restraints as required by BOP policy.
     BOP Policy Statement § 552.24 requires that when a prisoner is
held in four point restraints more then eight (8) hours the Warden
of the institution must so notify the Regional Director by
telephone. Additional notifications must be provided for each
ensuing eight (8) hour period of four point restraint.


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four point restraints, chaining a prisoner to his bed in a

spreadeagle position, as a last resort when other forms of prison

discipline have failed).     This conclusion of being a measure of

last resort is bolstered by the BOP special reporting requirements

implicated whenever such restraints are undertaken.10

       Remaining Defendants have provided this Court with general

reasons behind the decision to employ four point restraints in

Hill’s case.   They claim that Plaintiff was displaying signs of

imminent violence because he made a vocal threat.         This contention
is arguably contradicted by Remaining Defendants’ acknowledgment

that Hill voluntarily submitted to being placed in hand restraints

twice on the date in question.

       Moreover, institutional records submitted by Remaining

Defendants indicate with the exception of yelling one obscene

remark and falsely indicating that he was willing to accept a

cellmate Plaintiff was for the most part sitting at his desk or on

his bed on the morning of the June 22, 2010.        See Doc. 22-2 p. 28.

       It is also noted that Warden Bledsoe has not submitted a
declaration explaining his reasons for authorizing the use of four

point restraints.    Regional Director Norwood has likewise not

submitted a declaration explaining his concurrence in the decision

to employ four point restraints.      Third, the videotape evidence



10. In addition to the Regional Director reporting requirements
previously discussed, correctional staff were also required per BOP
policy to check Plaintiff every fifteen minutes. See id. at p. 27.
In addition a Lieutenant was required to conduct a restraint check
every two hours.


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submitted by the Remaining Defendants show that Plaintiff

voluntarily consented to being placed in hand restraints and was

not violent or otherwise disruptive immediately prior to placement

in four point restraints.     Fourth, the videotape presented by

Remaining Defendants of events which transpired during the morning

of July 22, 2010 also does not depict Hill as being disruptive or

otherwise unruly and that he again voluntarily consented to being

placed in hand restraints.

          Upon consideration of the conflicting material factual
evidence presented by the parties, the use of four point restraints

on Plaintiff could be concluded as wanton infliction of pain in

violation of the Eighth Amendment.        See Zimmerman, 654 F. Supp.2d

at 249.    In reaching this determination, this Court recognizes the

potential that Plaintiff’s behavior could have improved for the

better once his actions were being recorded or because he was

facing a physical encounter with the use of force team.          Moreover,

this Court also agrees that the undisputed record clearly

establishes that Hill was a prisoner with a significant history of
institutional misconduct including acts of violence against staff

and fellow prisoners.

          However, it cannot be ignored that evidence which has been

presented, especially videotapes, institutional logs, and Remaining

Defendants’ acknowledgment that Hill was not involved in any type

of physical altercation on the relevant date could warrant a

determination by a rational trier of act that the placement of Hill

in four point restraints was not appropriate and was simply a


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punitive response to Plaintiff’s manipulative behavior.11             Second,

there is also a material factual dispute as to Plaintiff’s

assertion that he was not released from his restraints to use the

bathroom during the 43 hour period and had to lie in his own waste.

Remaining Defendants have simply not provided the Court with

competent evidence showing that Plaintiff was provided with

bathroom access as mandated under BOP regulations.12

       Since the Court has not been presented with any facts

showing that the use of four point restraints was justified and

non-excessive under the circumstances, the request for summary

judgment will be denied.13
Qualified Immunity

       Remaining Defendants also argue that they are entitled to

qualified immunity.    This argument will be addressed solely with

respect to the surviving four point restraint related claims.

       Qualified immunity is an affirmative defense which must be

pleaded by the defendant official.        Verney v. Pennsylvania Turnpike

Comm'n, 881 F. Supp. 145, 149 (M.D. Pa. 1995).        In Harlow v.
Fitzgerald, 457 U.S. 800 (1982), the United States Supreme Court



11. Namely, punishment for Hill’s deceiving Lieutenant Hepner into
allowing him to shower by agreeing and to accept a cell mate but
then changing his mind after showering.

12. BOP regulations require that during each two hour restraint
check the inmate must be afforded the opportunity to use the toilet
unless the prisoner is actively resisting.

13. This Court does agree with remaining defendants’ contention
that based upon the undisputed record there is no indication that
Plaintiff suffered any injury due to having rstraints applied too
tightly.

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held "that government officials performing discretionary functions

generally are shielded from liability for civil damages insofar as

their conduct does not violate clearly established statutory or

constitutional rights of which a reasonable person would have

known."    Id. at 818; Sherwood v. Mulvihill, 113 F.3d 396, 398-99

(3d Cir. 1997); Showers v. Spangler, 957 F. Supp. 584, 589 (M.D.

Pa. 1997).    It has also been held that "qualified immunity is

coextensive for suits brought against state officials under 42

U.S.C. § 1983 (1982), and for suits brought directly under the
Constitution against federal officials."       People of Three Mile

Island v. Nuclear Regulatory Commissioners, 747 F.2d 139, 144 n.9

(3d Cir. 1984) (citing Butz v. Economou, 438 U.S. 478, 504 (1978)).

          The United States Supreme Court in Saucier v. Katz, 533 U.S.

194 (2001), subsequently established a two part test for analyzing

qualified immunity claims.     See also Curley v. Klem, 298 F.3d 271

(3d Cir. 2002); Bennett v. Murphy, 274 F.3d 133 (3d Cir. 2002).

The initial inquiry in a qualified immunity examination is whether

“the facts taken in the light most favorable to the plaintiff show
a constitutional violation.”     Bennett, 274 F.3d at 136.       The second

prong requires a determination as to whether the constitutional

right at issue was clearly established.       If so, then a court must

inquire as to “whether it would be clear to a reasonable officer

that his conduct was unlawful in the situation he confronted.”

Saucier, 533 U.S. at 201.     A determination that the conduct

violated a clearly established constitutional right precludes the

granting of qualified immunity.


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       Plaintiff’s factual submissions, viewed in the light most

favorable to him, shows that the Remaining Defendants violated his

constitutional rights with respect to the use of the four point

restraints.   Consequently, the first prong of Saucier is satisfied.

See Curley, 298 F.3d 271, 2002 WL 1774048 *18 (“a decision on

qualified immunity will be premature when there are unresolved

disputes of historical fact relevant to the immunity analysis.”).

       The second step of Saucier requires district courts “to

determine whether the constitutional right was clearly
established.”   Bennett, 274 F.3d at 136.      Under this analysis,

“[i]f it would not have been clear to a reasonable officer what the

law required under the facts alleged, he is entitled to qualified

immunity.” Id.;   See also Ezenwa v. Gallen, 906 F. Supp. 978, 986

(M.D. Pa. 1995) (quoting Harlow, 457 U.S. at 818) (qualified

immunity will shield a governmental official from liability if that

official's conduct "'does not violate clearly established statutory

or constitutional rights of which a reasonable person would have

known.'”).    “A right is clearly established if it would be “clear
to a reasonable officer that the conduct was unlawful in the

situation he confronted.”     Jones v. Jersey City, 2002 WL 1877036 *1

(3d Cir.   Aug. 15, 2002)(quoting Saucier, 533 U.S. at 202).          This

Circuit has also held that while governmental officials are not

required to anticipate the development of new legal standards, they

must apply general, well developed, legal principles.         Three Mile

Island, 747 F.2d at 144-45.




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         The constitutional duties with respect to the application of

four point restraints by correctional officers were clearly

established at the time of the alleged incident.         Since the facts

when viewed in a light most favorable to Hill would establish that

the purported conduct regarding use of four point restraints of the

Remaining Defendants violated clearly established constitutional

standards, under Saucier, they are not entitled to qualified

immunity at the summary judgment stage.

         However, as noted by the Third Circuit court of Appeals, an
officer may still contend that he reasonably, but mistakenly,

believed that his actions was justified by the circumstances as he

perceived them; this contention however, must be considered at

trial.   See generally,    Bennett, 274 F.3d at 137.      An appropriate

Order will issue.



                          S/Richard P. Conaboy
                            RICHARD P. CONABOY
                            United States District Judge



DATED: SEPTEMBER 19, 2013




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                  IN THE UNITED STATES DISTRICT COURT
                                FOR THE
                    MIDDLE DISTRICT OF PENNSYLVANIA




DAVID E. HILL,                        :
                                      :
             Plaintiff                :
                                      :
       v.                             :   CIVIL NO. 3:CV-11-1609
                                      :
HARLEY LAPPIN, ET AL.,                :   (Judge Conaboy)
                                      :
             Defendants               :

_________________________________________________________________
                               ORDER

       AND NOW, THIS 19th DAY OF SEPTEMBER, 2013, in accordance

with the accompanying Memorandum, IT IS HEREBY ORDERED THAT:



             1.    Remaining Defendants’ motion for summary judgment

                   (Doc. 51) is PARTIALLY GRANTED.

             2.    Summary judgment is GRANTED in favor of the

                   Remaining Defendants with respect to the claim
                   that Plaintiff was subjected to excessive force

                   during his June 22, 2010 afternoon cell

                   extraction, placement in ambulatory restraints,

                   and transfer to another cell.

             3.    The motion for summary judgment will be DENIED

                   with regards to that there was no legitimate basis

                   for Hill’s placement in four point restraints and

                   that he was kept in the restraints for an

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                  excessive period without being afforded access to

                  a bathroom.




                           S/Richard P. Conaboy
                           RICHARD P. CONABOY
                           United States District Judge




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